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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK


 OLACHI MEZU-NDUBUISI, an Individual                   )
                                                       )
                             Plaintiff,                ) Case No.: 24-cv-6387-EAW
 vs.                                                   )
                                                       )
 UNIVERSITY OF ROCHESTER, et.al.                       )
                                                       )
                                                       )
                                                       )
                             Defendants.               )




  DECLARATION OF PLAINTIFF’S COUNSEL, C. VALERIE IBE IN SUPPORT OF
      PLAINTIFF’S MOTION TO SEAL EXHIBIT AG, AN EXHIBIT IN THE
   PLAINTIFF’S MEMORANDUM IN SUPPORT OF RENEWED MOTION FOR A
                     PRELIMINARY INJUNCTION



                                          INTRODUCTION
I, C. VALERIE IBE, ESQ., am a co-counsel for the plaintiff in this matter, and I respectfully seek

leave of the court to file this declaration and I declare the following in support of the plaintiff’s

motion to seal Exhibit AG, one of the Exhibits in support of her renewed motion for preliminary

injunction.

1. I am over 18 years of age and am an attorney at law duly admitted to practice before the

United States District Court in the Western District of New York. I am also licensed to practice

law in the State and Federal Courts in Maryland and California.

2. I have personal knowledge of the facts stated herein except for those based on information and

belief, which I believe to be true, and I am competent to testify to their truth and accuracy.
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3. I submit this declaration pursuant to Rule 5.3 (c) of the Local Rules of Civil Procedure of the

United States District Court for the Western District of New York and Health Insurance

Portability and Accountability Act of 1996 (HIPAA) in support of the Plaintiff’s Motion to File

under Seal, Exhibit AG, which is Plaintiff’s September 14, 2024 response to Medical Executive

Committee (“MEC”) that is attached as an exhibit to the memorandum in support of her renewed

motion for a preliminary injunction.

4. On June 20, 2024, the plaintiff filed an employment discrimination complaint against the

defendants and alleged among other things, Racial Discrimination, Retaliation,

Harassment/Hostile and abusive Work Environment, Disparate Treatment, Retaliatory

harassment and Discrimination under NY Law, Breach of Contract, and Denial of Due Process.

5. On July 29, 2024, plaintiff filed an amended complaint alleging the same claims as in the

original complaint and also included 42 U.S.C. §1981 claim.

6. On August 12, 2024, the defendants filed a motion to dismiss the plaintiff’s amended

complaint arguing among other things that plaintiff had not presented any evidence to back up

her racial discrimination claim, disparate treatment, Title VII retaliation, harassment/hostile and

abusive work environment, retaliatory harassment and discrimination under New York Law,

breach of contract, due process and 42 U.S.C. Section 1981 claims.

7. On August 14, 2024, plaintiff’s motion for preliminary injunction was heard by the court

where the defendants promised the judge that their Fair Hearing Process would address all of the

plaintiff’s claims. That plaintiff’s application for injunction was dismissed without prejudice.




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8. In a letter dated August 28, 2024, the defendants’ Medical Executive Committee, without

notice or an opportunity to be heard by Dr. Mezu-Ndubuisi, recommended a denial of her

application for reappointment.

9. On September 3, 2024, the plaintiff filed a response in opposition to the defendants’ motion to

dismiss her amended complaint.

10. Plaintiff timely requested a Fair Hearing challenging the MEC adverse action in her appeal

dated September 14, 2024 – Exhibit AG which is one of the exhibits that was submitted in

support of her memorandum for renewed motion for preliminary injunction sought to be filed

under seal.

11. The plaintiff has applied to this court to seal Exhibit AG under seal.

12. The Exhibit contains CONFIDENTIAL, PRIVATE and SENSITIVE MEDICAL DATA OF

PATIENTS, treatment information and plaintiff’s private information.

13. Exhibit AG is extremely relevant to the litigation and defense of the plaintiff’s claims that she

was wrongfully stopped from working. The Exhibit is relevant in refuting the false allegations

that the defendants have leveled against the plaintiff in carrying out their discriminatory and

retaliatory actions against her.

14. The Exhibit is crucial to her response to the defendants’ MEC and is her appeal for Fair

Hearing which is the subject matter of the plaintiff’s renewed motion for preliminary injunction

that is being filed in conjunction with this motion to seal.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


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Executed on November 24, 2024 in Los Angeles, California     /s/C. Valerie Ibe, Esq.
                                                             C. Valerie Ibe, Esq.
                                                             Attorney for Plaintiff




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